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                           THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

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    In re                                                 : Chapter 11
                                                          :
    TERRAFORM LABS PTE. LTD.,                             : Case No. 24-10070 (BLS)
                                                          :
                    Debtor.1                              : Obj. Deadline: May 22, 2024 at 4:00 p.m. (ET)
                                                          :
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DECLARATION AND DISCLOSURE STATEMENT OF SHOBNA CHANDRAN, ON

BEHALF OF SHOBNA CHANDRAN LLC

           I, Shobna Chandran, hereby declare, pursuant to 28 U.S.C. § 1746, that the following is

true to the best of my knowledge, information, and belief:

           1.      I am the Managing Director of Shobna Chandran LLC located at 65 Chulia Street

#46-00 OCBC Centre, Singapore 049513 (the “Firm”).

           2.      This declaration (the “Declaration”) is submitted in accordance with the Order

Authorizing Debtor to Employ Professionals Used in the Ordinary Course of Business (Docket

No. 206) (the “OCP Order”). Capitalized terms used but not otherwise defined herein shall have

the meanings ascribed to them in the OCP Order.

           3.      Terraform Labs Pte. Ltd., as debtor and debtor in possession (the “Debtor”), has

engaged the Firm as Singapore Litigation Counsel in connection with asset recovery matters.

           4.      The Firm may have performed services in the past and may perform services in the

future, in matters unrelated to this Chapter 11 Case, for persons who are parties in interest in this

Chapter 11 Case. As part of its customary practice, the Firm is retained in cases, proceedings, and


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      The Debtor’s principal office is located at 1 Wallich Street, #37-01, Guoco Tower, Singapore
      078881.
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transactions involving many different parties, some of whom may represent or be claimants or

employees of the Debtor, or other parties-in-interest in this Chapter 11 Case. The Firm does not

perform services for any such person in connection with this Chapter 11 Case. In addition, the

Firm does not have any relationship with any such person, their attorneys, or accountants that

would be adverse to the Debtor or their estate with respect to the matters on which the Firm is to

be retained.

       5.      Neither I, nor any principal of, or professional employed by the Firm has agreed to

share or will share any portion of the compensation to be received from the Debtor with any other

person other than the principals and regular employees of the Firm.

       6.      Neither I, nor any principal of, or professional employed by the Firm, insofar as I

have been able to ascertain, holds or represents any interest adverse to the Debtor or its estate,

with respect to the matters on which the Firm is to be retained.

       7.       The Firm’s process of ascertaining whether it holds or represents an interest

adverse to the Debtor or its estate with respect to matters on which the Firm is to be retained

consisted of the following: Conflict checks on the Debtor and counter-parties involved in the

dispute. We use an automated system called Clio which captures client names for conflict checks.

       8.      The Debtor does not owe the Firm for prepetition services.



       9.      I also understand the limitations on compensation and reimbursement of expenses

under the OCP Order. Specifically, the Firm understands that in the event its fees and expenses

exceed a total of $50,000 per month, on average, over a rolling three-month period, the Firm may




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be required to file with the Court a fee application for approval of its fees and expenses for such

month in accordance with Bankruptcy Code sections 330 and 331, the Bankruptcy Rules, the Local

Rules, and any applicable procedures or orders of this Court.

       10.     The Firm only holds $3,432 in relation to money received for pre-petition services.

       11.     As of the Petition Date, the Firm was not party to an agreement for indemnification

with the Debtor.

       12.     The Firm is conducting further inquiries regarding its retention by any creditors of

the Debtor, and upon conclusion of that inquiry, or at any time during the period of its employment,

if the Firm should discover any facts bearing on the matters described herein, the Firm will

supplement the information contained in this Declaration.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on: May 6, 2024




                                                By:

                                                Shobna Chandran

                                                SHOBNA CHANDRAN LLC




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